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                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


  UNITED STATES OF AMERICA                     §
                                               §
  vs.                                          §                    Case No. 4:03cr159(3)
                                               §                            (Judge Brow n)
  BYRON JOE BEARD                              §

                          REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the request f or revocation of Defendant’ s

  supervised release. After the District Court referred the matter to this Court for a

  report and recommendation, the Court conducted a hearing on February 17, 2005

  to determine w hether Defendant violated his supervised release. Defendant w as

  represented by Mark Perez. The Government w as represented by Ernest Gonzalez.

        On M ay 2 0 , 2 0 0 4 , Def endant w as sent enced by the Honorable Paul Brow n t o 1 2

 mont hs cust ody f ollow ed by a t hree year t erm of supervised release f or t he of f ense of

 Conspiracy t o Fraudulent ly Use A ccess Devices.          On June 1 6 , 2 0 0 4 , Defendant

 completed his period of imprisonment and began service of his supervised term .

        On February 1, 2005, the U.S. Probation Officer filed a Petition for Warrant for

 Offender Under Supervision.         The petition asserted that Defendant violated the

 follow ing conditions: (1) Defendant shall refrain from any unlaw ful use of a controlled

 substance; (2) Def endant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use , distribute, or administer any narcotic or other controlled

 substance, or paraphernalia related to such substances, except as prescribe by a

 physician; and (3) Defendant shall participate in a program of testing and treatment for
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 drug abuse under the guidance and direction of the U.S. Probat ion Office until such

 time as Defendant is released from the program by the probation office.

       The petition alleges that Def endant committed the follow ing acts:       (1) On

 September 17, 2004, Defendant submitted a urine specimen that tested positive for

 methamphetamine; (2) On Oct ober 1, 2004, Defendant submitted a urine specimen

 that tested positive for cocaine; (3) On December 21, 2004, December 30, 2004, and

 January 4, 2005, Defendant submitted urine specimens that tested positive for

 marijuana; and (4) Defendant failed to report for random urine specimen collection on

 July 1, 2004, November 12, 2004, December 20, 2004, January 10, 2005, and

 January 18, 2005.

       Prior to the Government putting on its case, the Def endant entered a plea of

 true to the remaining violations.    At the hearing, the Court recommended that

 Defendant’ s supervised release be revoked.



                                 RECOMMENDATION

       The Court recommends that the District Court revoke Defendant’ s supervised

 release. Pursuant to the Sentencing Reform Act of 1984, the Court recommends that

 on March 4, 2005, Defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of tw enty-one (21) months, w ith no supervised release to

 follow . The Court further recommends that Defendant complete a 500 hour drug

 rehabilitation program w hile in custody.

       Within ten (10) days af t er receipt of the magistrate judge' s report, any party

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     may serve and f ile w ritten objections to the findings and recommendations of the

     magistrate judge. 28 U.S.C.A. § 636(b)(1)(C).

           Failure to file w ritten objections to the proposed findings and recommendations

     contained in this report w ithin ten days after service shall bar an aggrieved party from

     de novo review by the district court of the proposed findings and recommendations
.
     and from appellate review of factual findings accepted or adopted by the district court

     except on grounds of plain error or manifest injustice. Thomas v. Arn, 474 U.S. 140,

     148 (1985); Rodriguez v. Bow en, 857 F.2d 275, 276-77 (5th Cir. 1988).


           SIGNED this 22nd day of February, 2005.

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                                              ____________________________________
                                              DON D. BUSH
                                              UNITED STATES MAGISTRATE JUDGE




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